                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN
                                    MILWAUKEE DIVISION


 WILLIAM FEEHAN,

                  Plaintiff,

          v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
                                                                              Case No.: 20CV1771
 L. THOMSEN, MARGE BOSTELMANN,
 JULIE M. GLANCEY, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                   Defendants.


                     DEFENDANT GOVERNOR TONY EVERS’S MOTION
                            TO RECOVER ATTORNEY FEES


          Four weeks after Wisconsin’s presidential election, Plaintiff and his attorneys filed a

meritless lawsuit built on inscrutable conspiracy theories and improper anonymous affidavits.

Upon filing the complaint (and then amending it to exclude a co-plaintiff who never signed onto

this lawsuit), Plaintiff demanded an expedited schedule and virtually immediate resolution of his

motion for irrevocable injunctive relief.

          Barely a week later, Defendants had filed and fully briefed a motion to dismiss, as well as

their opposition to Plaintiff’s injunction motion, and this Court issued a thorough opinion

dismissing the case. Plaintiff then filed two separate appeals with the U.S. Court of Appeals for

the Seventh Circuit and also filed two emergency petitions with the Supreme Court of the United

States.



               Case 2:20-cv-01771-PP Filed 03/31/21 Page 1 of 3 Document 97
         Although Plaintiff’s claims were bereft of legal or factual basis, the stakes were immense.

Governor Tony Evers had no choice but to defend zealously against the claims and in the

extraordinarily expedited timeframe of this litigation, to engage with Plaintiff’s scattershot

litigation tactics. This litigation imposed significant costs on the taxpayers of Wisconsin. Those

costs were needless, because Plaintiff’s suit never had any merit, and they were exacerbated by

the strategic choices made by Plaintiff and his lawyers.

         Accordingly, Governor Evers respectfully moves this Court to tax his attorney fees—

approximately $106,000 to date—against both Plaintiff and his attorneys. The Court can and

should take these actions using both statutory authority and the Court’s inherent power to

sanction attorneys for engaging in bad faith litigation. See 28 U.S.C. § 1927; Roadway Exp., Inc.

v. Piper, 447 U.S. 752, 766 (1980).1

         The grounds for this Motion, as well as the details of the fees sought are set forth in the

supporting briefs and declarations that have also been filed with this Court. By his counsel,

Governor Evers conferred on the morning of February 25th with Plaintiff’s local counsel, Mr.

Dean, in an effort to propose a mutually agreed upon briefing schedule for this matter. Mr. Dean

expressed a need to confer with his co-counsel and with national counsel. To date, they have

provided no substantive response, but they most certainly have been put on notice regarding this

claim for fees and sanctions.




1
 Had there been sufficient time, Governor Evers would likely have also pursued sanctions under Federal Rule of
Civil Procedure 11. However, the Rule 11 safe-harbor requirement provides that the party moving for sanctions first
notify the opposing party and allow 21 days for potential withdrawal or correction before filing a motion for
sanctions with the court. Here, Plaintiff filed his claim on December 1 and demanded resolution by December 6.
Ultimately, the Court issued an order dismissing the case on December 9. Thus, the case moved too quickly for
Governor Evers to comply with Rule 11’s safe-harbor requirement, but it cannot be true that demanding an
expeditious process can shield Plaintiff and his attorneys from appropriate consequences for their egregious conduct.
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            Case 2:20-cv-01771-PP Filed 03/31/21 Page 2 of 3 Document 97
Respectfully submitted this 31st day of March, 2021.

                                     /s/ Jeffrey A. Mandell
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                                     Attorneys for Defendant,
                                     Governor Tony Evers




                                        3

   Case 2:20-cv-01771-PP Filed 03/31/21 Page 3 of 3 Document 97
